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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                          CASE NUMBER:

 JOHN UNDERWOOD
                                                             8:25−cv−00207−JVS−JDE
                                      PLAINTIFF(S)

                           v.

 JULIEN COALLIER

                                                                         DEFAULT BY CLERK
                                                                           F.R.Civ.P. 55(a)
                                   DEFENDANT(S).




      It appearing from the records in the above−entitled action that summons has been served upon the
 defendant(s) named below, and it further appearing from the affidavit of counsel for Plaintiff, and other
 evidence as required by F.R.Civ.P. 55(a), that each of the below defendants have failed to plead or otherwise
 defend in said action as directed in said Summons and as provided in the Federal Rules of Civil Procedure:

      Now, therefore, on request of counsel, the DEFAULT of each of the following named defendant(s) is
 hereby entered:

  Julien Coallier




                                                        Clerk, U.S. District Court

   May 28, 2025                                         By /s/ Evelyn Synagogue
 Date                                                   Deputy Clerk

 CV−37 (10/01)                           DEFAULT BY CLERK F.R.Civ.P. 55(a)
